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                   Docket No. ATF 2021R-05
“Definition of ‘Frame or Receiver’ and Identification of Firearms”


                          Comments of
             GUN OWNERS OF AMERICA, INC.
                               and
                GUN OWNERS FOUNDATION


                   8001 Forbes Place, Suite 202
                      Springfield, VA 22151
                           June 4, 2021




                              Exhibit "33"
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                                        ATF Rulemaking
       On May 21, 2021, ATF published a “Notice of Proposed Rulemaking” in the Federal

Register, entitled “Definition of ‘Frame or Receiver’ and Identification of Firearms,” 2021R–05,

86 Fed. Reg. 27720 (“PR” or “Proposed Rule”). ATF has sought public comment on its proposal

by August 19, 2021.

                                    Identity of Commenters
       These comments are submitted on behalf of Gun Owners of America, Inc. and Gun

Owners Foundation.

        Gun Owners of America, Inc. (“GOA”) is organized and operated as a nonprofit

membership organization that is exempt from federal income taxes under Section 501(c)(4) of

the U.S. Internal Revenue Code. GOA was formed in 1976 to preserve and defend the Second

Amendment rights of gun owners, and has become one of the nation’s leading Second

Amendment advocacy organizations, with more than two million members and supporters

nationwide. Gun Owners Foundation (“GOF”) is organized and operated as a nonprofit legal

defense and educational foundation that is exempt from federal income taxes under Section

501(c)(3) of the U.S. Internal Revenue Code. GOF is supported by gun owners across the

country.

                                    Summary of Comments
       Time and again, ATF, through Proposed Rulemaking, has sought to rewrite the text of

federal firearms law in order to suit the agency’s anti-gun political agenda, apparently seeking to

revert to the congressionally repealed regulation of “all firearm parts” under the Federal Firearms

Act of 1938.




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        First, ATF rewrites the statutory term “the frame or receiver” so that it is now possible

for a single firearm to have numerous frames and receivers. ATF proposes to define “frame or

receiver” as any of several parts that house what the agency terms a “fire control component.”

Yet under ATF’s unworkable explanation, almost every single part of a firearm constitutes a

“fire control component,” with the effect that popular firearms such as the AR-15 might now

include as many as 10 frames and receivers. Under the new regime ushered in by this

rulemaking, ATF could even go so far as to wave its magic wand and claim that firearm barrels

and box magazines now constitute firearms.

        In proposing this new system, ATF repudiates its existing regulatory definition of “the

frame or receiver,” claiming that this regulation has never actually applied to anything, and

admitting that the agency has for decades simply ignored it – deliberately misinterpreting and

misapplying its own rule, even while chiding federal courts for not participating in the charade.

        Second, without any statutory authority, ATF’s Proposed Rule targets for extinction

popular DIY homemade firearms, often sold as unfinished and unmanufactured parts or kits

which are commonly referred to as ”80% frames or receivers”. ATF repudiates all prior guidance

and classification letters on the subject, and rewrites the statute to create an entirely new category

termed “weapons parts kits” which ATF claims are firearms, even though they are not even fully

manufactured, and contain no actual frame or receiver and are, as sold, incapable of discharging

a cartridge.

        Whereas in the past, ATF pointed to specific milling operations which “go too far” and

turn unregulated objects into firearms, ATF now proposes to replace those well-established

standards with no standard at all – except ATF’s arbitrary discretion – employing nonsense




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terminology such as the “critical line crossed” test, the “substantial step taken” test, and the

“critical stage” test. Of course, no one could possibly have any idea what any of that means.

        ATF attempts to explain what it means by claiming that an item becomes a firearm when

it “may readily be completed” – defining “readily” by changing the statutory term “readily be

converted” to “readily be assembled, completed, converted, or restored.” To preserve its

unrestricted authority to impose arbitrary standards on a case-by-case basis, ATF injects an

additional half dozen vague adjectives and adverbs which are inherently malleable, flexible,

vague, standardless, and open to infinite interpretation.

        Then, to provide further “clarification” of its clarification, ATF provides an additional

eight-part test with even more vague and standardless concepts such as “how long” and “how

difficult.” Par for the course, ATF never explains what any of this means. As icing on the cake,

ATF then adds another seven types of items it may consider to determine if an item is a firearm,

such as “instructions” and “equipment,” but does not explain how these factors would be

considered. ATF thus has created a definition, within a definition, within a definition, within a

statutory term. But ATF doesn’t stop there. Moving even further down the rabbit hole of

absurdity, the agency offers the famous “looks like a duck test.” ATF opines that items which are

“identifiable as an unfinished component part” are firearms regardless of functionality or even

their stage of completeness. Therefore, if something has the outward appearance of a firearm,

then it is a firearm.

        Apparently recognizing the confusion inherent in its tests, ATF promises that it won’t

arrest anyone for possessing a solid block of metal – the “primordial state” test. Scout’s honor.

Of course, if the owner of the block of metal also dared to possess a drill bit, or if the block of

metal had a drawing of a gun on it, then it is definitely a firearm.




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       It has yet to be seen whether, under

this new standard, users of 3D printers will

need to pass a background check before they

can purchase spools of plastic filament from

licensed gun dealers. After all, Legos can be

dangerous if they fall into the wrong hands.

       Third, the Proposed Rule targets “silencers” for additional regulation. Hardly a surprise,

ATF first seeks to rewrite the definition of silencer, claiming that one silencer might contain

multiple “frames and receivers” (a term Congress did not use when defining silencers), and that

each such part must be marked and serialized. ATF doesn’t stop to consider whether this is even

possible for modular suppressors.

       Deceptively marketing its changes as a boon to the silencer industry, ATF claims to

resolve a point of alleged “concern” and “confusion” in the marketplace. ATF offers as a carrot

the promise that it will not require each tiny part of a suppressor to be marked and serialized –

seemingly oblivious to the fact that the statute has never permitted this, ATF has never required

this, and manufacturers have never done this. Lurking just inside this Trojan horse lies the true

intent of ATF’s proposed changes, which is to eliminate the sale of increasingly popular items

known as “solvent traps” and “fuel filters,” thereby eliminating the ability of most gun owners to

lawfully manufacture their own suppressor after receiving an approved Form 1.

       Again, ATF proposes to rewrite the statute, deleting the language “parts designed and

intended” and replacing it with “parts necessary to function as designed” – because apparently

intent no longer matters. Indeed, ATF claims that an item is a silencer if it “contains all the

component parts necessary” to build a suppressor, regardless of whether they were ever intended




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or possessed for that use, and regardless of whether they are even “operable” once assembled. In

other words, anyone who changes his own oil is now a felon.

       Fourth, ATF proposes to create a new definition to regulate “privately made firearms,”

(“PMF”) even though federal law does not regulate homemade guns. ATF claims that the Gun

Control Act “required all firearms to be serialized,” a recklessly false statement. In order to

accomplish this illegitimate purpose of serializing “all firearms,” the Proposed Rule would

require PMFs to be serialized and recorded any time an FFL lays hands on one, rewriting and

greatly expanding the statutory requirements that only “manufacturers” and “importers” (not all

FFLs) must mark guns they “manufacture” or “import” (not all guns they “acquire”).

       To enforce this new serialization, ATF proposes to create the new federal crime of

obliterating a PMF serial number – a serial number that the statute never required in the first

place. And, to support its creation of a new industry to serialize privately made firearms, ATF

creates a new category of “dealer-gunsmith” who will mark PMFs – both rewriting the statute

and reversing longstanding agency guidance that a person doesn’t need an FFL to engrave

firearms. Of course, there is a reason for ATF forcing engravers to become licensed – ATF can

then require these new FFLs to record information about every firearm they serialize, even if

they do not keep a firearm overnight or take it into their inventory. This reverses nearly 45 years

of ATF separate guidance that no recordation of firearms is required if the work is done the same

day or while the customer waits.

       Fifth, ATF attempts to lull the firearms industry into a false sense of complacency,

promising that certain firearms may continue to be marked and serialized the way they currently

are marked and serialized. But when the fine print is examined, that protection only applies to the

same “design and configuration,” meaning if a manufacturer changes anything – perhaps




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something as small as the color of the stock or brand of flash hider offered on a particular model

– the firearm might no longer be exempted from the Proposed Rule, meaning every ATF-defined

frame and receiver would need to be serialized. Once again, ATF’s promises to the industry ring

hollow.

         Sixth, ATF proposes to codify the agency’s made-up and horribly flawed “classification

letter” system, whereby members of the industry and the gun community submit samples in

exchange for ATF’s yea or nay as to the legality of a particular product. Yet it is widely known

that this system, never authorized by Congress, has led to countless, secret, widely conflicting,

and ever-changing opinions issued by ATF examiners. Those examiners receive no formal

scientific or mechanical training, follow no standard operating procedures, do not employ the

scientific method, and do not even bother to keep track of past work, leading to scenarios where

the very same examiner can contradict himself while reviewing virtually identical products.

         Making this proposal even more egregious, ATF seeks to defend its right to refuse to

respond to submissions by the industry, preserving the agency’s prerogative to act arbitrarily and

capriciously – picking and choosing to whom and regarding what it will issue a classification

letter, while leaving disfavored companies and products hanging in legal limbo for years upon

end.

         Finally, the combination of ATF’s proposals gives the agency the ability to create a

prohibited National Gun Registry: first, by declaring numerous non-firearm gun parts to be

firearms which must then be serialized and transferred by dealers on a Form 4473 after a

background check; second, by requiring homemade firearms to be serialized and registered

whenever they come into the hands of an FFL; and third, by requiring dealers to keep all of these




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records in perpetuity, or else transfer them to ATF for scanning and digitization into the agency’s

centralized database.

        In sum, the Proposed Rule constitutes a gross overreach by ATF, purporting to greatly

expand the arbitrary powers wielded by the agency via bureaucratic fiat rather than congressional

authorization, to the detriment of the firearms industry and gun owners nationwide. Nearly every

aspect of the Proposed Rule is either arbitrary and capricious, in excess of the agency’s

jurisdiction, or in conflict with either statute or constitutional right. Often, it is all of the above.

Numerous times, the Proposed Rule purports to blatantly rewrite federal law to suit ATF’s

agenda. Nearly a dozen times, the Proposed Rule sets out unclear, ill-defined, and ambiguous

multi-part tests and standards, each as malleable as mercury, and which seem carefully designed

to provide minimum clarity to gun owners and the industry while preserving maximum

flexibility to the agency to act based on impulse and whim.

        To be sure, ATF may not be planning to take every horrible anti-gun action discussed

below but, as with statutes Congress enacts, the point is not what ATF has in mind, but rather

what is authorized and permissible under text of the regulations it proposes to enact. Virtually no

part of the Proposed Rule has any legal authorization. Instead, the Proposed Rule usurps

Congressional power at every turn and would cause great harm to law abiding gun owners and

the firearms industry alike. For those reasons, the entire Proposed Rule should be withdrawn. If

ATF fails to withdraw the Proposed Rule, GOA and GOF stand ready to challenge the agency’s

resulting lawless actions every step of the way.




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                                  Comments on Proposed Rule
   I.      The Proposed Rule Disregards the Gun Control Act and Seeks to Re-Enact the
           Repealed Federal Firearms Act.
        The Proposed Rule (“PR”) notes that, “prior to passage of the [Gun Control Act of 1968],

the Federal Firearms Act of 1938 (‘FFA’) regulated” not only firearms but also “all firearm

parts” – “any part or parts of such weapon.” PR at 27720 (italics original). ATF admits that the

FFA was repealed and replaced with the Gun Control Act of 1968 (“GCA”), in part because

“Congress recognized that [it] was impractical” to “treat each small part of a firearm as if it were

a weapon,” and thus “[t]he revised [statutory] definition substitutes the words ‘frame or receiver’

for the words ‘any part or parts.’” Id., see also 18 U.S.C. Section 921(a)(3). Yet although in one

breath recognizing that the GCA was designed to scale back the FFA’s regulation of all firearm

parts, in the next breath ATF’s PR announces the agency’s intent to revert to the repudiated FFA

scheme, by regulating “firearm parts” that clearly do not constitute “the frame or receiver” of a

firearm.

   A. Frame or Receiver.
        1. The Proposed Rule Ignores the Statutory Text.
        In seeking to regulate “firearm parts” as firearms, the PR ignores the statutory text. As

noted above, Section 921(a)(3) defines “firearm” to include “the frame or receiver of any such

weapon.” This simple language provides no fewer than four clues that ATF’s PR has missed

the mark. Notably:


           •   Section 921(a)(3) uses the singular rather than the plural – “frame” or “receiver”
               rather than “frames” and “receivers;”
           •   Section 921(a)(3) uses the word “or” rather than the word “and,” indicating a
               choice of one between two alternatives;
           •   Section 921(a)(3) begins with the definite article “the,” indicating and
               emphasizing a particular and singular object; and
           •   Section 921(a)(3)’s language “of any such weapon” indicates that “the frame or
               receiver” is a component subpart of a “firearm,” and is not separate therefrom.


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Thus, the clear language of Section 921(a)(3) indicates that Congress unambiguously intended

each firearm would contain either one frame or one receiver.

       For many years, ATF followed the statute as written. Indeed, existing ATF regulations

define the “firearm frame or receiver” in the singular, to be “[t]hat part of a firearm which

provides housing for the hammer, bolt or breechblock, and firing mechanism, and which is

usually threaded at its forward portion to receive the barrel,” again indicating that a firearm has

but one frame or receiver. 27 C.F.R. 478.11 (emphasis added). Moreover, the PR admits that, to

date, firearms have had one “portion of a firearm” that is the “necessary component of the

weapon” that is “the frame or receiver.” PR at 27721. See also at 27720 (the “structural

component of a firearm….”); United States v. Thomas, 2019 U.S. Dist. LEXIS 147264, *17-18

(D.D.C. Aug. 29, 2019) (“the government’s expert witness from [ATF] testified at the hearing …

‘the frame or receiver is the central part of the firearm,’ … and is the ‘core component of the

firearm that all the other parts are attached to.’”) (emphasis added).

       However, ATF apparently now has decided to disregard the statutory language, the clear

intent of Congress which enacted it, and the agency’s longstanding prior regulation in line with

the statute. In fact, the PR blatantly admits to rewriting the statute, conceding that “the new

definition would more broadly define the term ‘frame or receiver’ than the current definition.”

PR at 27727 (emphasis added). Indeed, the PR would revise the regulatory definition of “the

frame or receiver” so that a single “firearm” might be comprised of multiple “frames” and

“receivers” and might even apply to other “parts” that are in no way frames or receivers. See PR

at 27722 (noting that Congress replaced the term “part or parts” in the Gun Control Act, but then

seeking to go back to a system where “the major parts of a weapon” are regulated and

manufacturers must “mark[] these parts” and “record[] these parts as ‘firearms.’”) (emphasis




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added). Any one of these “parts” in ATF’s eyes would be considered a firearm. See PR at 27721-

22. See also at 27743 (“the Director may determine whether a specific part or parts of a weapon

is the frame or receiver”) (emphasis added); see also at 27734 (noting “the possibility that a

firearm may have more than one frame or receiver as defined in this rule….”) (emphasis added).

       In order to accomplish ATF’s agenda to revert to the FFA, the PR proposes to now define

“frame or receiver” to be:

       A part of a firearm that, when the complete weapon is assembled, is visible from the
       exterior and provides housing or a structure designed to hold or integrate one or more
       fire control components, even if pins or other attachments are required to connect those
       components to the housing or structure. Any such part identified with a serial number
       shall be presumed, absent an official determination by the Director or other reliable
       evidence to the contrary, to be a frame or receiver. For purposes of this definition, the
       term “fire control component” means a component necessary for the firearm to initiate,
       complete, or continue the firing sequence, including any of the following: Hammer, bolt,
       bolt carrier, breechblock, cylinder, trigger mechanism, firing pin, striker, or slide rails.
       [PR at 27741.]

Thus, whereas the statute defines “the frame or receiver,” the PR would rewrite that to be “a

frame or receiver.” Id. (emphasis added). The PR intends that “there could be more than one part

of a complete weapon … that is the frame or receiver….” PR at 27731. The PR indicates that

“each part of a weapon defined as a frame or receiver must be” serialized. Id. (emphasis added).

This is patently contrary to the language of the statute and the intent of Congress, which is that

each firearm contain only one component frame or receiver.

   B. ATF Elevates Perceived Intent Over the Statutory Text.
       In an almost incomprehensible statement, ATF claims that “[e]xisting law recognizes that

the definition of ‘frame or receiver’ need not be limited to a strict application of the regulation.”

PR at 27721. By this gibberish, ATF appears to be arguing that the definition of “frame or

receiver” is not limited to the words used in the statute, and should be interpreted not as written,

but according to the shifting sands of ATF’s policy agenda.


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         In support of its claim, ATF asserts that “[c]ourts interpreting definitions in the [Internal

Revenue Code] have not strictly applied those definitions where they would be manifestly

incompatible with the intent of the applicable statute,” and relies on three judicial opinions – not

from any Article III court, but rather from the United States Tax Court – an Article I court

established by Congress. PR at 27722 n.12. Apparently, ATF was not able to find any Article III

decisions to support its claim. Indeed, numerous Article III courts such as the Eleventh Circuit

have refused to:

         “interpret a statute contrary to the plain meaning of its words if doing so would, in the
         court’s view, better further the purpose it thinks Congress had in mind.... As the Supreme
         Court recently reminded us, ‘law depends on respect for language.’ ... We interpret and
         apply statutes, not congressional purposes. ... (‘[I]t is ultimately the provisions of our
         laws rather than the principal concerns of our legislators by which we are governed.’) ...
         In any event, ‘[t]he best evidence of that [legislative] purpose is the statutory text adopted
         by both Houses of Congress and submitted to the President.’” [Gordon v. Novastar
         Mortg., Inc. (In re Hedrick), 524 F.3d 1175, 1187-1188 (11th Cir. 2008).]1

         ATF apparently believes the statute is flawed, failing to encompass modern firearms,

because it defines a firearm as having only one “frame or receiver” while ATF claims that

modern firearms can have many frames and receivers. See PR at 27721 (when the current statute

was enacted, “single-framed firearms … were far more prevalent for civilian use than split/multi-

piece receiver weapons,” and it was only “[y]ears after these definitions were published” that

“split/multi-piece receiver firearms … became popular.”).

         ATF obviously believes that its existing regulation is insufficient, because “ATF’s

regulatory definitions … do not expressly capture these types of firearms,” meaning only

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  See also Martinez v. Larose, 968 F.3d 555, 561 n.5 (6th Cir. 2020) (quoting Connecticut Nat. Bank v. Germain,
503 U.S. 249, 253-254 (1992)). Indeed, it is axiomatic that, as is the case here, courts will not “overlook an
interpretation that flies in the face of the statutory language.” Sundance Assocs. v. Reno, 139 F.3d 804, 810 (10th
Cir. 1998); see also DaVita, Inc. v. Marietta Mem. Hosp. Emple. Health Ben. Plan, 978 F.3d 326, 341 (6th Cir.
2020) (“Deference to agency interpretation of a statute is in order only when such interpretation is ‘not in conflict
with the plain language of the statute.’”); Garcia v. Secretary of Health & Human Servs., 46 F.3d 552, 557 (6th Cir.
1995) (“where [an] interpretation conflicts with the plain language of the governing statute, we will not hesitate to
overturn that interpretation.”).



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“approximately 10% of currently manufactured firearms” contain the parts listed in 27 C.F.R.

478.11. Id. at 27721 n.8. Certainly, an agency is free to revise its own regulation if it proves to be

unworkable. But the agency is most certainly not permitted to amend the statute, as ATF seeks to

do here. Nor may ATF amend its regulation in a way that flies in the face of the statute Congress

actually enacted.

         If ATF’s regulation is deficient, then the agency must work within the confines of the

statute to fix it. But if the statute is somehow deficient, as ATF claims (these commenters do not

agree), then ATF should approach Congress and seek a legislative fix, rather than amending the

statute as if by divine right.

         2. ATF Rejects Numerous Judicial Opinions Interpreting the Statute and
            Regulation.
         ATF apparently believes it is a law unto itself. In claiming that its statutory rewrite is

“necessary,” ATF broadly maligns the federal courts, claiming that judges have uniformly

“misinterpreted” the statute by following the text of the statute. PR at 27722. ATF lists several

court cases that have interpreted the statutory term “the frame or receiver” to mean that “the

receiver of a firearm must be a single unit….” Id. ATF claims that these uniform, text-based

decisions are “erroneous,” and that “[s]hould the current definition remain in place and courts

continue to interpret it” as they have, “the public” will be “put[] at risk.” PR at 27727.

ATF claims that its new proposed definitions will “help ensure that the regulatory definition of

‘frame or receiver’ will not be misinterpreted by the courts….” Id.2

         ATF asserts that “the current definitions were never intended to be, or understood to be,

exhaustive,” and bemoans that, “[i]n the past few years … some courts have treated the

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  ATF claims that “[i]n light of recent court cases, the majority of regulated firearms may not meet the existing
definition of firearm frame or receiver.” PR at 27738. If that is the case, then responsibility lies with Congress, not
the agency, to modernize the statutory language.



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regulatory definition as exhaustive….” PR at 27721-22. But if the statute and the regulations are

not “exhaustive” – if they mean something more or something different than what they say –

then the law becomes whatever ATF declares it to be.

       Remarkably, according to ATF, it is not the courts which have misinterpreted the statute,

but instead ATF admits that the agency has knowingly and, in fact, deliberately misinterpreted

its own regulatory framework for decades. In fact, ATF acknowledges that “neither the upper nor

the lower portion of a split/multi-piece receiver firearm alone falls within the precise wording of

the regulatory definition,” and thus “ATF has for many years interpreted the regulatory definition

using [various] factors [that do not appear in the statute or regulation] as a guide in determining

which portion of a weapon model is a firearm frame or receiver.” PR at 27721. In other words,

ATF takes the position that, since its regulation never worked, the agency just made things up as

it went along. With such an admission, it is thus hardly a surprise that federal courts have

disagreed with the agency’s admittedly bogus interpretation of its own regulation, and

unsurprising that these courts have concluded that each firearm contains one frame or receiver.

       3. The Proposed Definition of “Frame or Receiver” Is Expansive in its Vagueness
          and Nonsensical in its Application.
       As noted above, ATF’s proposed redefinition of “frame or receiver” is contrary to the

text of the statute, contrary to Congress’s intent to de-regulate firearm parts, and contrary to

numerous judicial opinions interpreting both Section 921(a)(3) and ATF’s existing regulation

to mean that each firearm contains one frame or receiver. Additionally, the Proposed Rule is

ambiguous and vague, and for that reason is “arbitrary and capricious,” in violation of the

Administrative Procedures Act. Finally, by creating a definition whereby firearms could have

multiple frames and receivers, the Proposed Rule is also a complete reversal of ATF’s

professed “long[standing] position … that the weapon ‘should be examined with a view toward


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determining if [either] the upper or lower half of the receiver more nearly fits the legal

definition of “receiver.”’” PR at 27721 (emphasis added).

       4. The Proposed Definition of “Frame or Receiver” Is Vague and Ambiguous.
       The PR claims that a frame or receiver is “[a] part of a firearm that, when the complete

weapon is assembled, is visible from the exterior….” PR at 27741. ATF claims that this language

“makes clear that a ‘frame or receiver’ must be visible to the exterior when the complete weapon

is assembled.” PR at 27727 (emphasis added). ATF notes that “an internal frame or chassis at

least partially exposed to the exterior … may be determined by ATF to be the frame or

receiver….” Id. (emphasis added).

       First, these statements are ambiguous. ATF could be claiming either (i) that it will not

consider a part to be a frame or receiver unless it currently is visible from or partially exposed to

the exterior, or else (ii) that if ATF designates a part to be a frame or receiver, then it can require

the manufacturer to make that part visible from or partially exposed to the exterior. Second,

this requirement is not supported by the statute, which contains no “visibility” or “exposure”

requirement in order for a firearm part to be “the frame or receiver.” Third, it would seem that

ATF’s purpose for this requirement is to make it easy to view the serial number and other

markings on a firearm without disassembly. ATF claims that “identifying markings” on frames

or receivers must be susceptible to FFLs “quickly record[ing]” them, and to law enforcement to

“easily see” them. PR at 27727 (emphasis added). But simply being “visible” or “partially

exposed” and thus being considered a frame or receiver does not mean that such a part contains

sufficient exterior surface area to be marked and serialized. An AR-15 trigger is “partially

exposed to the exterior,” but that does not mean it can be serialized to ATF’s specifications.




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              a. Under ATF’s Proposed Rule, a Firearm Like an AR-15 Could Contain as
                 Many as Ten Frames and Receivers.
         As noted above, the PR would define “frame or receiver” in such a way that a single

firearm could contain multiple frames or receivers.3 This raises the question – how many frames

and receivers could a single firearm possibly contain? Humpty Dumpty provides ATF’s obvious

answer:

         Humpty Dumpty: “When I use a word, it means just what I choose it to mean – neither
         more nor less.
         Alice: “The question is whether you can make words mean so many different things.”
         Humpty Dumpty: “The question is which is to be master – that’s all.”

The current regulation defines “frame or receiver” as “[t]hat part of a firearm which provides

housing for the hammer, bolt or breechblock, and firing mechanism, and which is usually

threaded at its forward portion to receive the barrel.”4 27 C.F.R. 478.11. ATF now maligns its

own definition as too “rigid” and “specific,” and lauds its new definition as “general enough….”

PR at 27727. Indeed, ATF’s proposed new definition is “general,” to say the least. The PR would

expand the current list of 5 identified parts to now include any part that is a “‘fire control

component,’ mean[ing] a component necessary for the firearm to initiate, complete, or continue

the firing sequence….” PR at 27741.

3
  To be sure, ATF gives various examples of firearms that contain one “frame or receiver” (PR at 27741-42), and
provides a definition and various examples of “split or modular frame or receiver” firearms where ATF has
arbitrarily chosen one part or another to be the “frame or receiver” (PR at 27743-46). ATF’s proposed replacement
test for determining which part constitutes a frame or receiver is equally unclear, adopting a seven-part test of “the
factors ATF considers” but of which “[n]o single factor is controlling.” See PR at 27728, 27743. Yet there is no
explanation of how each concept will be applied. For example, ATF states that it will consider “how the component
fits within the overall design of the firearm when assembled” (PR at 27743), but does not explain further what “fits”
weigh in favor of classification as the frame or receiver, versus what types of “fits” weigh against such
classification.
4
  The PR implies that ATF could consider a “barrel” to be a “frame or receiver,” which is diametric to the existing
regulation states that the “frame or receiver” is “usually threaded at its forward portion to receive the barrel.” As the
existing regulation makes clear, the barrel is the part that is “received,” not the part that does the receiving. See 27
CFR Section 478.11. ATF apparently believes circularly that a frame or receiver accepts the barrel, and at the same
time that the barrel is a “frame or receiver” because it receives the frame.




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Although ATF provides a non-exhaustive list of examples that would be considered “fire control

components,”5 in reality this expansive definition would apply to virtually every part of a

firearm, since virtually all parts of common firearms are “component[s] necessary for the

firearm to initiate, complete, or continue the firing sequence.”

         For example, an AR-156 requires an upper and lower receiver to house the majority of

its parts, and thus both are obviously necessary for the “firing sequence.” Likewise, the buffer

tube, buffer, buffer spring, castle nut, and end plate are necessary to keep the bolt cycling as

part of the “firing sequence.” On the lower receiver, the disconnector, hammer, trigger and

associated springs, the mag catch spring and button, and various pins, springs, and detents

are necessary for the “firing sequence.” On the upper receiver, the barrel, bolt carrier group,

bolt (and all components thereof), firing pin, gas tube, and gas block are all similarly

“necessary” for “the firing sequence.” In fact, the only parts of an AR-15 that aren’t absolutely

“necessary” to the firing sequence would seem to be the pistol grip, bolt catch, safety, stock,

forward assist, dust cover, trigger guard, sights, muzzle device, and handguard.

         Under ATF’s proposed definition, each of these numerous parts above would be

considered one of the “fire control components” within a firearm, and thus any part that

“provides housing or a structure designed to hold or integrate one or more” of these “fire control

components” in turn would be considered a “frame or receiver.”

5
  ATF provides a non-exhaustive list of 9 such parts, including “hammer, bolt, bolt carrier, breechblock, cylinder,
trigger mechanism, firing pin, striker, or slide rails.” PR at 27741. The use of the term “including” means that there
are other parts not on this list. Indeed, the PR notes that these parts are listed “at a minimum” and “the definition is
not limited to those particular fire control components.” PR at 27727.
6
  ATF claims that certain existing firearms would continue to be marked as they currently are (PR at 27728, 27743),
but ATF explains that firearms newly designed or models newly configured in the future would be analyzed under
the new proposed framework. Since it is impossible to apply ATF’s Proposed Rule to firearm designs and
configurations that do not yet exist, these comments apply the proposed regulatory framework to existing firearms
for hypothetical purposes.




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        Applying ATF’s expansive definition of “fire control components,” the list of parts that

derivatively would be considered a “frame or receiver” grows exponentially. A bolt houses the

firing pin, so it could be a firearm. A bolt carrier group houses the bolt, so it could be a firearm.

An upper receiver houses both the bolt and the bolt carrier group, so it could be a firearm. A

stock (even though it is not necessary for operation) houses a buffer tube (which is a fire control

component), so it might be a firearm. A buffer tube houses a buffer spring and buffer, so it

could be a firearm. A buffer spring houses the buffer, so it might be a firearm as well

(depending on ATF’s meaning of “visible to the exterior”). A barrel nut “provides … structure”

for the barrel to attach to the upper receiver. One might even argue that an AR-15 trigger houses

the disconnector within its groove. And obviously, the lower receiver – the only part of an AR-

15 currently considered a firearm – presumably would continue to be such. Plus, ATF hints that a

barrel might soon be considered a firearm (see below), even though it “provides housing or a

structure” for no other parts. In total, applying ATF’s expansive definition could mean that one

AR-15 might be declared by ATF to contain as many as ten (or even eleven, see below) frames

and receivers.7

        In short, since the entire purpose of a firearm is to perform the “firing sequence,”

virtually every part is obviously necessary to that process. And as such, any part that “houses”

one of those many parts could be considered a “frame or receiver.” Under the PR, each one of

these parts would require a federal firearms license to manufacture or sell. Each would require a

background check to obtain, and recordkeeping of dispositions. Each would require serialization.

7
 Depending on how strictly this absurd definition is applied, this number could be even higher. For example, an
AR-15 buffer has component parts within it, as do other parts.




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But how would one serialize a buffer

spring?8 Assembled, there would be one

“gun,” but taken apart, there could be

nearly a dozen “firearms.”

        Clearly, this is not what Congress

intended. The former Federal Firearms Act

regulated all gun parts, but the GCA

explicitly repealed that as “impractical” and made clear that each firearm has one “frame or

receiver.” ATF’s PR rejects the GCA’s limitation and reverts to the broad regulation of firearm

parts under the FFA.

             b. Magazines Are Not Firearms.
Under ATF’s absurd proposed definition of “frame or receiver,” the agency might even consider

a magazine body to be a firearm, because it contains “component[s] necessary for the firearm to

initiate, complete, or continue the firing sequence….” See PR at 27741. To be sure, many

modern firearms can fire one round without a magazine (unless they are equipped with a

“magazine safety” or “magazine disconnect” that prevents their firing without the magazine

being inserted, in which case they can fire no rounds without the magazine). But no magazine-

fed firearm can fire multiple rounds (i.e., “continue the firing sequence”) without the magazine

being inserted. Since all parts of a magazine are necessary for the firearm’s “firing sequence,”

and the magazine body of a box magazine typically houses the follower, the spring, and the

8
  The Proposed Rule likely will put many smaller manufacturers of gun parts out of business entirely, unable or
unwilling to incur the expense and devote the time necessary to obtain a FFL and wade through ATF’s layers upon
layers of red tape.




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floorplate, ATF could argue that the magazine body is itself a “frame or receiver,” and thus a

firearm requiring serialization and a background check to purchase.9

               c. A Barrel Is Not a Firearm.
        ATF’s proposed definition of “frame or receiver” claims that any part that is currently

serialized by a manufacturer would be “presumed” to be a frame or receiver. PR at 27741. As it

just so happens, Glock and other major manufacturers serialize the barrels of various models of

handguns of their own accord, which would mean that ATF could “presume[]” a barrel to be a

firearm. See also PR at 27731 (discussing the “barrel” as a part which might need to be

serialized).

        Of course, there are nefarious reasons why ATF might seek to rewrite the statute to

regulate barrels as firearms. First, as ATF notes, “[t]echnological advances have [] made it easier

for unlicensed persons to make firearms at home from standalone parts or weapon parts kits, or

by using 3D printers….” PR at 27722 (emphasis added). As ATF notes, personal firearms “are

not required by the GCA to have a serial number placed on the frame or receiver, making it

difficult for law enforcement” to trace. Id. Yet with all the technological advances in firearms

made for personal use, it is currently impossible to 3D print a barrel, and virtually impossible to

manufacture one without expensive tooling, equipment, and knowledge. Thus, in order to

complete a homemade firearm, it is almost always the case that a person must purchase a

barrel from a third-party vendor. By seeking to define “frame or receiver” to include barrels,

including those that are used for privately made firearms, ATF’s proposed definition seeks to

9
 An attempt by ATF to regulate magazines as firearms would be outrageous, but it would hardly be surprising.
While ATF might believe that magazines are firearms, its current nominee for director apparently believes
magazines are the same thing as machineguns. See L. Nichols and D. Chipman, “Legal and Lethal: 9 Products That
Could Be the Next Bump Stock,” Giffords Law Center (Sep. 28, 2018) at 11 (“The danger posed by firearms [with
so-called large capacity magazines] that enable shooters to continue firing in this manner is the same reason
Congress chose to include machine guns in the NFA.”).



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enact backdoor regulation of homemade firearms – something Congress never intended,

which the GCA does not do, and which ATF certainly has no authority to accomplish through a

rulemaking.

       Second, barrels are the one main portion of a firearm that experiences wear and tear and

eventually can need replacement. In contrast, the portion of a “firearm” that is “the frame or

receiver” and thus needs to be serialized has always been one that does not experience significant

wear, such as an AR-15 lower receiver or a Glock frame. These components can last for tens or

hundreds of thousands of rounds if properly maintained. This has meant that a person could

always maintain and repair their firearm, replace parts as necessary, and pass them down through

the generations. Now, however, every time a shooter would need to replace a barrel, they would

need to purchase one from an FFL as a “firearm.”

       ATF’s implication that a barrel could somehow be a “firearm” under federal law is belied

by the dictionary definitions ATF cites, which state that a “frame” “serves as a mounting for the

barrel” and a “receiver” means “the metal frame … to which the breech end of the barrel is

attached.” PR at 27720 n.4. Of course, barrels are not firearms – neither under the statute nor

under the existing regulation. Yet if applied to barrels in the way that ATF has implied, the PR

would transform every single firearm in the United States into a regulated Gun Control Act

firearm. If, as the PR implies, ATF’s intent is to regulate barrels as firearms, then the agency is

falsely claiming that “nothing in this rule would restrict persons not otherwise prohibited from

possessing firearms from making their own firearms at home without markings solely for

personal use….” PR at 27725.




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             d. ATF Has No Authority to Delegate Control over Federal Law to the Gun
                Industry.
         As noted above, the proposed definition of “frame or receiver” provides that “[a]ny such

part [which houses fire control components] identified with a serial number shall be presumed,

absent an official determination by the Director or other reliable evidence to the contrary, to be a

frame or receiver.” PR at 27741. ATF does not explain what such “reliable evidence to the

contrary” might look like, so that qualification provides little promise of a safe harbor. And, of

course, ATF is under no obligation to provide “an official determination” that a serialized part is

not a frame or receiver, so that qualification similarly provides scant protection.

         This leaves it up to a firearm manufacturer or importer to determine through the

manufacturing process which part(s) constitute frames or receivers. As noted above, Glock brand

pistols contain serial numbers not only on the frame but also on the slide and the barrel – not

because any federal law or regulation requires it, but because it is a European standard for sales

on that continent. As another example, many surplus SKS type rifles have numerous parts that

are serialized, including many which are not frames or receivers, such as the wooden stock,

charging handle, bolt, gas tube, receiver cover, magazine, and trigger guard.10 See “Parts with

Serial Numbers.” The list goes on.

         Permitting the firearms industry, through marking various parts, to thereby add11

additional frames and receivers to firearms they manufacture or import constitutes an

10
   Of course, when it comes to firearm manufacturers who only mark and serialize “the frame or receiver,” the
additional burden of marking possibly several additional parts will add additional cost and complexity to the
manufacturing process, a cost which no doubt will be passed on to gun owners.
11
   This delegation is a one-way ratchet – additional parts can be serialized and thus turned into frames or receivers,
but at minimum manufacturers and importers must mark those parts that ATF already considers to constitute
firearms.




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impermissible delegation of authority to third parties as to what constitutes a firearm under

federal law.

   C. ATF Blatantly Proposes to Expand the Statutory Definition of “Firearm” to Include
      Items that Are Not Firearms, that Have Never Been Firearms, and Which Congress
      Never Intended to Be Considered Firearms.
       1. ATF Proposes to Rewrite the Statute to Regulate Unmanufactured “Weapon
          Parts Kits” as Firearms.
       The Gun Control Act defines a “firearm” as:

       (A) any weapon (including a starter gun) which will or is designed to or may readily be
       converted to expel a projectile by the action of an explosive; (B) the frame or receiver of
       any such weapon; (C) any firearm muffler or firearm silencer; or (D) any destructive
       device. Such term does not include an antique firearm.” [18 U.S.C. Section 921(a)(3).]

ATF’s regulation at 27 C.F.R. Section 478.11 is and has always been a mirror of the statute.

       Suddenly, now, ATF apparently has decided that the statutory language is entirely

insufficient. Much as in 2018, when it attempted to write “bump stocks” by name into the

statutory definition of “machinegun,” ATF seeks through regulation to expand the statutory

definition of “firearm,” proposing to now include at the end that:

       [t]he term shall include a weapon parts kit that is designed to or may readily be
       assembled, completed, converted, or restored to expel a projectile by the action of an
       explosive. The term shall not include a weapon, including a weapon parts kit, in which
       each part defined as a frame or receiver of such weapon is destroyed. [PR at 27741
       (emphasis added).]

The words “assembled” and “completed” do not appear in the statute, but ATF proposes to add

these new words through regulation, in an apparent attempt to target unregulated parts used to

make homemade firearms, that the agency recognizes the statute does not cover.

       The Proposed Rule then attempts to explain the meaning of the term “weapon parts kit.”

ATF describes two types of “weapon parts kits.” First, the PR explains that one type “contain[s]

most or all of the components (finished or unfinished) necessary to complete a functional




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weapon within a short period of time.”12 PR at 27726. Second, the PR explains that a second type

of such kits “include jigs, templates, instructions, drill bits, and tools that allow the purchaser

to complete the weapon to a functional state with minimal effort, expertise, or equipment.” Id.

(emphasis added). According to ATF, either would be declared a firearm – claiming that

“[w]eapon parts kits such as these are ‘firearms’ under the GCA,” and “[m]anufacturers of such

parts kits must be licensed….” Id. But ATF is not done.

        Not only does ATF attack complete “weapon parts kits” and define them as firearms, but

also it claims that a “criminal conspiracy” charge could attach if various parts were sold

separately by the same vendor – or even by entirely different vendors – likening the 80%

industry to a case “where one defendant sold parts kits containing the component parts of Sten

machineguns except receiver tubes, and the other sold customers blank receiver tubes along with

detailed instructions on how to complete them.” PR at 27726 n.45. This means that ATF might

claim that someone who sold an unfinished frame or receiver by itself – without any

“components” or “tools” that constitute “weapon parts kits” – nevertheless could be considered

to have conspired with other dealers or manufacturers to sell a complete “weapon parts kit.” In

other words, the Proposed Rule can be viewed as an effort by ATF to eliminate the market for

80% frames and receivers entirely. ATF appears to admit as much, calling out by name the

popular “Polymer 80” as being “completed in under thirty minutes.” PR at 27729 n.54.

        ATF likens “weapon parts kits” to fully manufactured but unserviceable/broken firearms,

which many courts have held to be firearms. PR at 27726 n.39. Next, ATF likens “weapon parts

kits” to firearm kits which contain all the necessary (and fully manufactured) parts, but are

merely in unassembled form. Id. at n.40 and n.41. Neither analogy holds water, because “weapon

12
  In order to define how “minimal” or how “short period of time” ATF means, the PR proposes another new
definition, of “readily,” which is discussed below.



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parts kits” as ATF defines them are not fully manufactured but broken firearms, or fully

manufactured but unassembled firearms. Rather, they are not firearms at all, because the frame

or receiver is in an incomplete stage of manufacture.

       Next, ATF relies on IRS Revenue Rulings and a decision from yet another Article I court

– the Court of Federal Claims – for the proposition that “unassembled components” that have

“reached the stage of manufacture or development where they became recognizable as” a

particular item would now constitute that item, “even though there remained one or more

finishing operations to be performed.” PR at 27726 n.44 (emphasis added). This is a slender

reed. The tax court opinion cited by ATF (a taxing statute involving when someone legally

manufactures a fishing rod and thus can be required to pay a tax) involves an entirely different

type of law from the Gun Control Act (a criminal statute involving when someone illegally

manufactures a firearm and can be sent to prison). Moreover, the tax court case acknowledged

that “[n]either the statute nor the Regulations defines exactly what is meant by ‘fishing rods,’”

whereas in this case, both statute and regulation define “firearm,” and neither definition includes

“weapon parts kits” as ATF would define the term. See Hine v. U.S., 113 F. Supp. 340, 342 (Ct.

Cl. 1953).

       Finally, unlike ATF’s assertion that current firearm designs and configurations might be

grandfathered as to how their frames and receivers are identified and serialized (PR at 27728,

27743), the PR contains no similar assurance that past FATD classification letters would

continue to be honored for existing models of 80% frames or receivers. Thus, the PR must be

read as a repudiation of all prior ATF guidance on the 80% issue, without any justification

provided for the changed position – other than that such precursors make it easier for a law-




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abiding gun owner to manufacture a homemade firearm – something perfectly legal to do under

federal law.

        2. ATF’s “Identifiability” Standard Turns Paperweights into Firearms.
        Next, ATF proposes to create an entirely new category called “partially complete,

disassembled, or inoperable frame or receiver.” PR at 27729. ATF claims that an item in this

category would constitute a “frame or receiver” and thus a “firearm” if it “has reached a stage in

manufacture where it may readily be completed, assembled, converted, or restored to a

functional state.” Id.

        ATF further defines “partially complete” to include an “article that has reached a stage in

manufacture where it is clearly identifiable as an unfinished component part of a weapon.” Id.

(emphasis added). This definition would adopt the tax court’s understanding that an item

becomes a fishing rod when it “reache[s] the stage of manufacture or development where they

became recognizable as” one. PR at 27726 n.44. But this would mean that even a 20% receiver

must be considered a firearm because it is certainly “clearly identifiable” as an AR-15 lower

receiver, even though it is advertised with the statement that “[u]nless you are an experienced

machinist, this is a novelty item.”



Attempting to limit the absurd reach of its

“identifiability” standard, ATF then promises that

“unformed blocks of metal, and other articles only in a

primordial state would not—without more—be

considered a ‘partially complete’ frame or receiver.” PR at 27729 (emphasis added). So

presumably a 0% receiver – i.e., a block of aluminum – would not be considered a firearm.




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       Of course, if a solid block of aluminum included

“more” – such as First Amendment-protected instructions

on how to mill AR-15 receivers from blocks of aluminum

– then perhaps ATF might consider even a block of

aluminum to be a firearm.

       Presumably, a spool of plastic for a 3D printer would not be a firearm, unless it was

accompanied by a flash drive with instructions on 3D printed firearms, in which case the spool of

plastic might need to be serialized and transferred on a 4473 after a background check.

       ATF’s new idea that “partially complete”

(unmanufactured) items are firearms means that, at

some unspecified point between being a spool of

plastic or raw piece of aluminum, and having the

generalized exterior shape of a receiver, an item would become a firearm. ATF then attempts to

explain “the point at which an unregulated piece of metal, plastic, or other material becomes a

regulated item under Federal law.” PR at 27729 (emphasis added). ATF explains that this occurs

“when it has reached a critical stage of manufacture,” when “a substantial step has been taken”

or “a critical line crossed,” making the item “sufficiently complete” or “readily [] completed.” Id.

(emphasis added). Of course, ATF does not explain what any of these vague and standardless

terms mean. ATF is not permitted to write into the federal criminal code Justice Stewart’s

understanding of obscenity in his concurring opinion in Jacobellis v. Ohio, 378 U.S. 184 (1964)

that “I know it when I see it.”




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       3. ATF’s Definition of “Readily” Is Similarly Vague and Standardless.
       Next, ATF purports to define the word “readily,” within the statutory phrase “may readily

be converted,” to mean “[a] process that is fairly or reasonably efficient, quick, and easy, but not

necessarily the most efficient, speedy, or easy process.” PR at 27747. ATF claims that this

gobbledygook will “provide further clarity” over the current state of the law. PR at 27730. It is

hard to take this claim seriously.

       Indeed, the words “fairly” (adverb) and “reasonably” (adverb) and “efficient” (adjective)

and “quick” (adjective) and “easy” (adjective) and “speedy” (adjective) are all relative terms –

inherently malleable, flexible, vague, standardless, and open to infinite interpretation. Running a

marathon might be “easy” for a triathlete, but not for someone who just had double bypass

surgery. ATF’s definition thus provides absolutely no fixed standards, and thus no one will ever

have any idea what “readily” convertible means until they find themselves on the receiving end

of a criminal indictment (or a no-knock raid). See P. DePuy, “How Cutting out Vague Adjectives

Can Make Us More Truthful (and Trustworthy),” MainStreetHost (Aug. 8, 2014).

       Humorously, ATF attempts to provide further guidance by providing an eight-part “list”

of “factors” that are “relevant in making [the readily] determination,” but then explains how this

list is arbitrary when it admits that “no single one [is] controlling” and the list “include[s]” but is

not limited to these eight factors (PR at 27747), so presumably ATF will consider whatever it

wants on an ad hoc, case-by-case basis. Additionally, like with the adjective-laced definition

above, none of the eight listed factors provides any guidance at all. ATF states that it will

consider “how long” and “how difficult” and “what knowledge and skills” and “what tools” and

“availability” of additional parts and “how much” and “scope” and “feasibility.” None of these




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factors have any precise meaning, and none include any fixed numerical or other guides. Is $5

relevant, or $500? Does a ballpeen hammer count as a relevant “tool,” or a rubber mallet?

        ATF defends its definitions as being “based on case law.” PR at 27730. But the fact that

ATF’s cobbled-together concepts may use words derived from a dozen or more various widely-

varying legal opinions does not make the Proposed Rule clear and unambiguous. In fact, ATF

cites numerous cases from across the country, decided over the past 50 years, for the proposition

that an item is “readily” converted into a firearm if it takes anywhere from “12 minutes to fire

live ammunition” to “an eight-hour working day in a properly equipped machine shop.” PR at

27730 n.58. If anything, this wide range of legal opinions shows that federal courts have had

difficulty interpreting when something can be “readily [] converted” into a firearm, and ATF’s

attempt to synthesize such widespread disagreement by the courts into a coherent definition is

laughable.13

        Indeed, during “an eight-hour working day in a properly equipped machine shop,” a

single knowledgeable person could manufacture any number of firearms from start to finish. For

example, it takes under three hours to 3D print an AR-15 lower receiver, and even less to print a

Glock frame – with only a few minutes devoted to set up. With a CNC machine, it is possible to

mill an AR-15 lower receiver from start to finish. The list goes on. ATF’s concept of how much

permissible time, skill, and equipment is allowable to finish a “partially complete” frame or

receiver – but still render it “readily” convertible – would apply to literally every stage of the

firearm manufacturing process, because any step past the “primordial state” (which ATF in its

13
   ATF’s regulatory definition of “readily” in “readily converted” is absurd when compared to the agency’s use of
“readily” elsewhere in its regulations, such as the requirement that a serial number be done “in a manner not
susceptible of being readily obliterated.” PR at 27743, 27747 (emphasis added). Since a serial number on a typical
firearm without question could be “obliterated” hundreds of times over during “an eight-hour working day in a
properly equipped machine shop,” it seems unlikely that serial numbers must be designed to withstand 8 hours of
abuse with an angle grinder. Thus, it similarly seems highly unlikely that a frame or receiver is capable of being
“readily converted” if it takes 8 hours of machining to complete with specialized equipment.


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benevolence takes off the table) would mean that a person has an item which can be turned into a

firearm.

        4. Putting It All Together.
        When compared to the Proposed Rule, ATF’s existing guidance on what constitutes a

frame or receiver is a model of clarity (even if entirely arbitrary). In a long series of classification

letters, ATF has opined that various specific “machining operations” on unfinished polymer

handgun frames and AR-15 and AR-10 type receivers cross the line so that the part becomes a

“frame or receiver,” while other specific “machining operations” do not cross that line. Indeed,

ATF’s website explicitly states that “ATF has long held that … [r]eceiver blanks that do not

meet the definition of a ‘firearm’ are not subject to regulation under the Gun Control Act (GCA)

[because] items such as receiver blanks, ‘castings’ or ‘machined bodies’ in which the fire-control

cavity area is completely solid and un-machined have not reached the ‘stage of manufacture’

which would result in the classification of a firearm according to the GCA.”

        The Proposed Rule is completely incompatible with, and thus repudiates entirely, these

prior holdings, and reverses ATF’s longstanding position

that 80% frames and receivers do not constitute firearms.

While such prior line drawing guidance may have been

arbitrary on ATF’s part, at least it provided some

certainty to those companies that manufacture and

market 80% receivers, and to the law-abiding gun

owners who purchase such items. In stark contrast, the

proposed rule is clear as mud.




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       The statute enacted by Congress regulates “firearms,” and defines that word to include

“the frame or receiver” thereof or something that “may readily be converted” into a functional

firearm. ATF, however, takes the term “frame or receiver” and defines it to include a “partially

complete … frame or receiver.” Next, ATF defines “partially complete … frame or

receiver” to include that “may readily be completed,” blending the two statutory terms

together, and including a seven-part non-exclusive and non-exhaustive test that may or may not

be applied. Finally, ATF defines “readily” using a half dozen vague and ambiguous concepts,

allegedly “clari[fied]” by eight vague and undefined criteria that are similarly non-exclusive and

non-exhaustive.

       ATF has thus created a definition, within a definition, within a definition, within a term.

Worse yet, none of the words in the definitions the agency has provided has any clear meaning

that can be deduced by lawyers and judges, or relied on by the industry and gun owners. Rather,

the Proposed Rule creates a system where everything is left to the unquestionable discretion of

ATF bureaucrats, using a sort of ‘facts and circumstances’ analysis conducted on a ‘case-by-case

basis.’ That sort of structure is entirely foreign to the criminal law, where statutes must have

precise meaning that can be understood by ordinary persons.

   D. ATF Proposes to Expand the Statutory Definition of “Silencer.”
       The statute does not define a silencer by reference to a frame or receiver thereof, but

rather discusses “device[s]” and “combination of parts” that constitute silencers. 18 U.S.C.

Section 921(a)(24). Nevertheless, the Proposed Rule proposes to create out of whole cloth an

entirely new definition of “firearm muffler or silencer frame or receiver,” similar to that for a

“firearm frame or receiver,” being:

       “a part of the firearm that, when the complete device is assembled, is visible from the
       exterior and provides housing or a structure, such as an outer tube or modular piece,


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       designed to hold or integrate one or more essential internal components of the device….”
       [PR at 27728.]

       Even if ATF had authority to define silencers by reference to a so-called “frame or

receiver” thereof, the PR makes the same mistake in the definition of “firearm muffler or silencer

frame or receiver” as it does in the definition of “frame or receiver” – wrongly assuming that

one complete silencer might contain multiple frames and/or receivers that would each

constitute individual silencers and which would each need to be registered and serialized.

That is not what Congress intended.

       The proposed definition includes as a “firearm muffler or silencer frame or receiver” any

“modular piece” (PR at 27743 (emphasis added)) – the word “modular” being composed of

“modules” which are “each of a set of standardized parts or independent units,” indicating there

could be multiple such modules that would have to be marked. Indeed, the PR states that

manufacturers must mark “each part [] or specific part(s)” that are considered frames and/or

receivers, and that this means the outer tube only “with respect to most [but apparently not all]

commercial silencer designs currently on the market.” PR at 27728 (emphasis added).

       For example, Sig Sauer recently released a suppressor line including the MODX-9 and

MODX-45 which use a “user configurable modular baffle design.” Currently, Sig serializes only

the main modular section which attaches to the firearm. Yet under the PR, it would appear that

ATF might require each modular section to be serialized – even though they are parts which

make up a single suppressor – presenting a logistical nightmare for both the industry and gun

owners alike. Likewise, other companies such as JK Armament sell “solvent traps” which many

gun owners purchase and lawfully convert to silencers after receiving an approved Form 1 from

ATF. Some of these devices contain “modular” components which comprise a complete unit.

Under the PR, however, gun owners who lawfully manufacture suppressors on Form 1s from



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these kits might be required to have each modular part serialized.14 Since NFA engraving often

costs anywhere from $30-$70, a requirement to have not one engraving but as many as nine

identical engravings could increase the cost of manufacturing a suppressor by hundreds of

dollars for gun owners – if it can be done at all.15

        Second, the proposed definition of “complete muffler or silencer device” states that ATF

will consider an item to be a suppressor if it “contains all component parts necessary to function

as designed whether or not assembled or operable.” PR at 27741 (emphasis added). As a

preliminary matter, ATF’s proposed definition replaces the statutory language “parts designed

and intended” with the agency’s now preferred language “parts necessary to function as

designed,” apparently meaning that the “intended” use for such parts would be irrelevant. Once

again, ATF has amended the statutory language that Congress enacted. This new language

should make any weekend mechanic cringe, as the federal government might suddenly decide

that their innocently owned oil or fuel filters are silencers. Additionally, the proposed definition

states that such alleged silencer “parts” need not even be fully manufactured or functional –

“whether or not … operable.” This again could be used to target individuals who innocently own

any of a variety of common household objects, if ATF in theory could use them to manufacture a

silencer. ATF’s proposed definition represents a thinly veiled targeting of popular items such as

“solvent traps” and “fuel filters” for NFA regulation, even though such devices do not fall within

the scope of the statute since they are not “parts, designed or redesigned, and intended for use in

14
   This assumes, of course, that ATF would consider each modular part to be a single “silencer” for purposes of a
Form 1 or Form 4, and that each would carry the same serial number.
15
   The Proposed Rule claims that ATF’s new silencer definitions would make it easier “when repairing existing”
silencers (PR at 27733), but that is not the case if each modular part (which includes an internal baffle) must be
serialized. In such a situation, no replacement of a damaged section could occur without triggering an NFA taxable
event. This would then lead to the absurd situation where a person could have two or more different NFA registered
silencers that are used as repair parts in a single suppressor.




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assembling or fabricating a firearm silencer or firearm muffler….”16 18 U.S.C. Section

921(a)(24).

         Third, ATF’s proposed new silencer definitions do not appear to respond to any

legitimate need. ATF claims that, while the GCA requires only “the frame or receiver” of a

firearm to be marked, the NFA “regulations currently assume that every part defined as a silencer

must be marked in order to be registered….” PR at 27727. ATF claims that “this result has

caused confusion and concern among many silencer manufacturers because some silencer parts

defined as ‘silencers,’ such as baffles, are difficult to mark, and make little sense to mark for

tracing purposes when the outer tube or housing of the complete device is marked and

registered.” Id at 27727-28. Thus, ATF purports to require only the “outer tube” to be marked as

a way to avoid additional markings, while “individual muffler or silencer parts must be marked if

they are disposed of separately….” Id. at 27728.

         But ATF’s professions of “confusion” and “concern” are simply not true. In fact, ATF

has never required every individual part of a complete silencer to be marked, and these

commenters are unaware of any silencer manufacturer who serializes any part of a silencer other

than the outer tube or the end cap. Indeed, 27 C.F.R. Section 478.92 says only that “[a]ny part

defined as a … firearm muffler, or firearm silencer … that is not a component part of a complete

weapon at the time it is sold, shipped, or otherwise disposed of … must be identified as required

by this section.” Emphasis added. Thus, the “fix” for which ATF claims the proposed rule is

necessary already exists in ATF’s regulations.

         Additionally, ATF’s 2009 NFA Handbook Section 7.4.6 makes clear that “[s]ome

FFLs/SOTs assemble silencers, for subsequent sale, from parts acquired from their contractors

16
  To be sure, gun owners do legally convert solvent traps and fuel filters into silencers after receiving an approved
Form 1 from ATF.



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[and] [u]nder these circumstances … contractors are not required to place identifying markings

on silencer parts. … these contractors are not required to register the parts they produce by filing

Forms 2, nor are they required to obtain approved Forms 3 to transfer the parts to assemblers.”

Again, the proposed rule would not appear to change or add to guidance that already exists.

         Rather, ATF’s proposed new definitions of silencers would adopt an ATF Advanced

Notice of Proposed Rulemaking from 2018 entitled “Identification Markings Placed on Firearm

Silencers and Firearm Mufflers,” 81 Fed. Reg. 26764 (May 4, 2016). In that notice, ATF

reported that the National Firearms Act Trade and Collectors Association (“NFATCA”) had

requested ATF take a 2008 “recommendation” that “manufacturers place all required markings

on the outer tube of the silencer,” and turn it into a mandate to “require” that manufacturers

must mark the tube and cannot mark the end cap. Id. at 26765 (emphasis added). ATF never

adopted that 2018 proposed rule advocated by NFATCA. Yet the current Proposed Rule would

make this very change because, if a manufacturer is required to mark the part “designed to hold

or integrate one or more essentially internal components,” this would mean that the tube must be

marked, not the end cap.

         In sum, ATF claims it is responding to an industry need that simply does not exist. Below

this subterfuge, the agency is attempting surreptitiously to adopt the anti-gun policy that it

declined to adopt in 2018, while targeting solvent traps and fuel filters for elimination and

increasing the hassle for those who possess modular suppressors.

   II.      The GCA Does Not Regulate “Privately Made Firearms,” Yet ATF Seeks to
            Create Entirely New Regulatory Requirements and Even New Federal Crimes.
   A. Privately Made Firearm.
         Federal law does not define a “privately made firearm,” and for good reason – the Gun

Control Act does not prohibit a law-abiding person from assembling, finishing, or manufacturing



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one’s own firearm for personal use.17 Thus, ATF’s proposal to create a new definition of

“privately made firearm” (PR at 27730) can signify only one thing – the agency’s intent to

rewrite the statute to claim the authority to regulate such items. ATF asserts that “nothing in this

rule would restrict persons not otherwise prohibited from possessing firearms from making their

own firearms at home without markings solely for personal use (not for sale or distribution).” PR

at 27732. Of course, that is a non sequitur, focusing on what the proposed rule does not do (ban

homemade firearms outright) is nothing more than a clever way of avoiding admitting what the

final rule does do (regulate homemade firearms, items that Congress explicitly chose to leave

unregulated).

         ATF proposes to create a new term, “privately made firearm,” defined as:

       [a] firearm, including a frame or receiver, assembled or otherwise produced by a person
       other than a licensed manufacturer, and without a serial number or other identifying
       markings placed by a licensed manufacturer at the time the firearm was produced.18 [PR
       at 27746-47.]
In support of this new definition, ATF falsely asserts that “the GCA … required all firearms to

be marked under federal law.” Id. No. It. Did. Not. Indeed, 18 U.S.C. Section 923(i) states that:

         (i) Licensed importers and licensed manufacturers shall identify by means of a serial
         number engraved or cast on the receiver or frame of the weapon, in such manner as the
         Attorney General shall by regulations prescribe, each firearm imported or
         manufactured by such importer or manufacturer.

Similarly, ATF’s existing companion regulation makes clear that:

         a licensed manufacturer or licensed importer of firearms, must legibly identify each
         firearm manufactured or imported…. [27 CFR Section 478.92(a)(1) (emphasis added).]
17
    For one thing, there is a Second Amendment right to make a firearm for personal use. Federal cases so far dealing
with similar issues are in accord, determining that the right to “keep and bear arms” implies “‘a corresponding right’
to obtain the bullets necessary to use them.” Jackson v. City and County of San Francisco, 746 F.3d 953, 967 (9th
Cir. 2014)) (emphasis added). See Bezet v. United States, 276 F. Supp. 3d 576, 605 (E.D. La. 2017) (restrictions on
“the use of imported parts to assemble a firearm . . . likely impinge on the rights of law-abiding, responsible citizens
. . . to acquire” firearms), aff’d 714 F. Appx. 336, 341 (5th Cir. 2017).
18
    ATF excludes from this definition NFA items that are regulated and recorded in the NFRTR. PR at 27730. ATF
has chosen to exclude firearms manufactured prior to the effective date of the Gun Control Act, for a reason that it
has not decided to share at this time. Id.



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In other words, both the statute and existing regulation explicitly confine the marking

requirement only to a firearm “manufactured” by a “manufacturer” or a firearm “imported”

by an “importer.”

         Apparently not content with that limitation, ATF proposes to rewrite the statute: “this rule

proposes to amend 27 CFR 478.92 to require FFLs to mark … each frame or receiver … of a

weapon … that the licensee acquired….” PR at 27732 (emphasis added). Aside from the fact

that, as explained above, a firearm has only one frame or receiver, ATF would create a new duty

on all “FFLs” (not just manufacturers and importers) to mark every firearm they “acquire” (not

just ones they manufacture or import). This is a gross expansion of the statute, designed to lead

to the serialization, recording, and tracking of every firearm in the country. See PR at

27732 (“this proposed provision is necessary to allow ATF to trace all firearms….”).19

         In order to enforce its new serialization requirements, ATF creates a further definition of

“importer’s or manufacturer’s serial number.” PR at 27730. ATF now claims that, under 18 USC

Section 922(k), “removal, obliteration, or alteration” is “prohibit[ed],” meaning it will now be a

federal crime to remove a serial number on a PMF, even though no statute requires a PMF to

have such a marking. Id. By this, ATF purports to create a brand new federal crime that

Congress never enacted. But the agency should hold its proverbial horses, as “the Executive

Branch, whether through the President or one of its agencies, cannot create criminal statutes;

19
  ATF claims that it is simply responding to a problem whereby FFLs have so many PMFs in inventory that they
cannot match them all up in their records during inspection. PR at 27724. Of course, it is highly unlikely that many
dealers have encountered this problem, since most who manufacture PMFs keep them for their own use, the resale
value of PMFs is low, and dealers likely do not want the hassle (and potential liability) of dealing with them.
However, abiding by the “never let a crisis go to waste” mantra, ATF is thus using a made-up crisis that does not
exist as justification for the new regime imposed by the proposed rule.




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only Congress can do so.” Chavez-Alvarez v. AG United States, 850 F.3d 583, 589 (3d Cir.

2017).

         ATF claims that these new definitions are “[c]onsistent with the language … of the

GCA” (PR at 27732 (emphasis added)), even though the agency’s definition blatantly rewrites

“the language of the GCA,” applying a requirement made for certain FFLs to all FFLs, and in

effect removing the words “manufacture” or “import” and replacing them with the word

“acquisition.” Id. Since there is no federal requirement that FFL dealers mark firearms they

acquire, traditionally they have never done so. Indeed, existing ATF guidance has been to simply

mark Forms 4473 and A&D books with “NSN” for no-serial-number, any time transferring a

privately made firearm, a pre-68 firearm, or a firearm with a worn and illegible serial number.

         Now, ATF would require dealers to serialize every firearm they “acquire,” aware of the

reality that the typical dealer cannot – or will not – provide such services, which require

expensive machinery to serialize to ATF’s specifications. For example, ATF states that

serializing polymer firearms “would typically require the licensee to embed (or use pre-existing)

metal serial number plates within the plastic.” PR at 27732.

         In order to facilitate the agency’s mandated serialization of all firearms, ATF next would

create an entirely new category of “dealer-gunsmiths” who “engage in the business of

identifying firearms for nonlicensees” and “may become licensed … solely to provide

professional PMF marking services.” PR at 27731. Yet under the statute that Congress enacted, it

is not necessary for a person to obtain an FFL simply to mark, engrave, or serialize firearms.

Indeed, as noted above, 18 U.S.C. Section 923(i) requires only manufacturers and importers to

mark firearms, and 18 U.S.C. Section 921(a)(11) defines “dealer” only to include, with respect to

what ATF terms a “gunsmith,” “(B) any person engaged in the business of repairing firearms or




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of making or fitting special barrels, stocks, or trigger mechanisms to firearms….” Emphasis

added. Those listed activities could not possibly be interpreted to include engraving services.

Indeed, ATF Ruling 2009-1 explicitly concluded over a decade ago that “[a]ny person who

engages … engraving the external surface of a firearm, does not need to be licensed as a

manufacturer under the Gun Control Act.” The proposed rule would repeal ATF Ruling 2009-1,

requiring a person to obtain an FFL in order to engrave firearms – and thereby rewriting 18

U.S.C. Section 921(a)(11).

        There are many reasons to believe that ATF has a further nefarious reason for creating

this entirely new category of FFLs because, once a person is a “dealer,” he is forced by ATF to

engage in recordkeeping. Indeed, ATF requires that “PMFs would first need to be recorded by

the dealer-gunsmith as an acquisition in the licensee’s A&D records upon receipt from the

private owner (whether or not the licensee keeps the PMF overnight), and once marked, the

licensee would update the acquisition entry with the identifying information, and then record its

return as a disposition to the private owner.” PR at 27731. Thus, the proposed rule is not only a

serialization requirement, but also a registration requirement.

        In requiring FFLs to “record”20 their handling of privately made firearms any time they

come into contact with one, ATF would repeal ATF’s “overnight” rule as stated in ATF Ruling

77-1, which made clear that “a firearm need not be entered in the bound acquisition and

disposition record if the firearm is brought in … and the owner waits while it is being adjusted or

repaired or if the gunsmith returns the firearm to the owner during the same business day it is

brought in.” Since ATF recognizes that it only takes a few minutes to engrave a firearm, and thus

that virtually no privately made firearms will be kept overnight “from one business day to

20
  ATF makes clear that a 4473 and background check are not required as part of its PMF firearm registration
program – at least until its next arbitrary and capricious rule change.



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another,” ATF is forced to create this additional entirely new requirement. ATF’s repudiation of

its overnight requirement also requires repudiation of the understanding that PMFs must be

serialized when they are “acquired” (not manufactured or imported) by FFLs, now requiring

firearms to be serialized not when “acquired” but when merely handled in any way. There is no

longer any pretense that the Proposed Rule is anything more than a naked requirement that all

firearms be serialized so that privately manufactured firearms “can be traced.” PR at 27731f.

          In summation: First, ATF creates an entirely new definition of “privately made firearm”

in order to regulate personal firearms that Congress explicitly chose not to regulate. Second,

ATF then creates entirely new marking requirements for PMFs that are “acquired” by any dealer,

rewriting the statutory text to do so. Third, ATF creates new crimes and penalties for removal or

obliteration of a serial number that the statute never required to be there in the first place.

Fourth, ATF creates an entirely new category of FFL that is outside the statutory text, in order

to do the work of forced registration of privately made firearms. Fifth, ATF then creates new

recordkeeping requirements for its new made-up class of licensee, repudiating prior guidance

and rulings as to when firearms must be recorded in the A&D book. ATF’s shameless attempt to

regulate privately made firearms is so far afield from its statutory authority that it seems extreme

even for this rogue agency.

   III.      ATF Attempts to Lull the Industry into a False Sense of Complacency.
          Several times throughout the Proposed Rule, ATF claims that certain types of firearms

might be grandfathered when it comes to how their frame or receiver is delineated, and how they

are marked. See, e.g., PR at 27743 (“[t]he Director has previously determined that a specific part

is the frame or receiver with respect to certain weapons with split or modular frames or

receivers,” and “[f]rames or receivers of different weapons that are combined to create a similar




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weapon each retain their respective classifications as frames or receivers provided they retain

their original design and configuration.”); at 27748, 27752 (“[l]icensed manufacturers and

licensed importers may continue to identify firearms (other than PMFs) of the same design and

configuration as they existed before”); see also at 27728, 27731.

        Many have read these statements to mean that certain popular designs of firearms such as

the AR-15, or handguns made by Glock and other manufacturers, will continue to have only one

frame or receiver and continue to be marked as they currently are. Yet like much of ATF’s

Proposed Rule, the devil is in the details. In fact, in order to receive ATF’s newly minted special

status as grandfathered, a firearm must retain “the same design and configuration as they

existed before….” PR at 27731 (emphasis added). Indeed, as ATF explains again, “new designs

or configurations of firearms” would lose their special status. Id. (emphasis added). These

statements indicate a two-part test. It would appear that, in order to be grandfathered, not only

would a firearm need to be of an existing “design” – i.e., an AR-15 type rifle – but also it would

need to be of an existing “configuration” – meaning a particular model that is already on the

market.

        Should a manufacturer continue to market existing “designs” (AR-15s), but offer new

models in different “configurations”21 – this might mean that ATF would claim that the special

grandfathered status no longer exists. It is not a stretch to imagine that ATF might argue that a

different caliber barrel, different length handguard – or even different color furniture – would

constitute a different “configuration” of an existing “design,” at which point a firearm would be

governed by the new rule. In such case, even an AR-15 would be required to have each of its

alleged “frames and receivers” marked, unless the manufacturer was able to obtain a

21
  ATF uses “configuration” twenty-four times in the NPRM, but never defines it and leaves it to the reader’s (and
future prosecutor’s) imagination.



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classification letter from ATF on the sixty-year-old rifle, stating that it was permissible for only

certain part(s) to be marked – a process wherein “ATF’s decision whether to classify an item

voluntarily submitted [allegedly] is entirely discretionary.” PR at 27734. ATF further confirms

this understanding by its statement that any classification letter does not apply to “any other

sample, design, model, or configuration.” PR at 27753.

         While ATF appears to be marketing its Proposed Rule to the firearms industry as being of

limited effect, only affecting new styles of firearms, in reality no firearm “design” would be safe

– even if decades old – once offered in a new “configuration” – a term left in ATF’s unlimited

discretion to define and apply. Ostensibly, this is a “design” feature, and not a bug, of the

Proposed Rule.

   IV.          ATF Reserves to Itself the Power to Act Arbitrarily and Capriciously.
         As noted above, in numerous instances the Proposed Rule calls on the industry to submit

“samples” to ATF for classification. See at 27728 (“manufacturers may wish to submit samples

to ATF for classification of one or more particular components as the frame or receiver….”). See

also at 27733, 27748, 27753. In fact, the Proposed Rule deliberately sets up a clear-as-mud

framework wherein the industry will have no certainty as to which part(s) of firearms are frames

or receivers, and thus will be forced to seek ATF’s sanctification on a case-by-case basis.

         For many years, ATF has suggested that the industry can voluntarily submit samples of

products to the agency for testing and classification. ATF then provides private “determinations”

or “classifications” or “private letter rulings” to the individual requester, opining as to the

classification of the item (such as rifle versus handgun), whether it is regulated under the GCA or

NFA, etc. Historically, ATF has refused to make these classification letters public, claiming that




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they can be relied on only by the particular persons or entities who request them.22 Moreover,

ATF asserts the unreviewable discretion to revisit any classification at any time for any reason,

and to reverse course should the agency see the need (as it did with bump stocks). And in recent

years, ATF has taken the entirely new position that it will no longer perform “accessory

classifications” of items that are not attached to complete and functioning firearms, leading to

further industry uncertainty, severely constraining the ability of the system that it created to

provide “guidance.”

         This preposterous classification system is not provided for in any statute or regulation but

is entirely a bureaucratically created system designed to vest ATF officials with unbridled

latitude and unreviewable discretion to do virtually whatever they want in any particular case.

ATF Firearm Examiners who work within the Firearms Technology Industry Services Branch

and Firearms Technology Criminal Branch are reported to operate without any written rules,

guidelines, or standard operating procedures. As is obvious from their work, they do not follow

the scientific method. These offices do not even keep accurate records of ATF’s prior

classifications, meaning examiners often are not even aware of what the agency has done in the

past. This leads to absurd results where ATF classification letters have been in open conflict with

one another – even letters written by the same examiner. This charade has led to introduction of

legislation in Congress to crack down on the process and require formalized testing procedures,

and even the taping of examinations.

22
  The ATF’s premise of private letter rulings should be rejected outright. Not publishing guidance documents harms
the industry and the public by failing to treat all manufacturers equally. Some favored manufacturers have their
classification requests acted upon quickly, while some disfavored manufacturers wait for years to have the ATF
classify their products. In any event, the ATF should publish all of its classifications and rulings so that the public
can be made aware of how the agency’s self-established jurisprudence has evolved, and understand what conduct
and/or products have received (for now) the ATF stamp of approval.




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       ATF now proposes to formally “codify” this horribly flawed system without any

changes. PR at 27733. As ATF explains, “[e]ach request would be submitted in writing or on an

ATF form executed under the penalties of perjury….” Id. Yet as noted above, there is no legal

basis for ATF’s classification system, nor does the agency explain the need for a signed form to

accompany submission samples. ATF’s new form appears to be a way to create more technical

paperwork violations that can then lead to selectively bringing trumped up criminal charges for

“perjury.”

       Next, ATF claims that its “decision whether to classify an item voluntarily submitted is

entirely discretionary.” PR at 27734. ATF might as well have said that “we reserve to ourselves

the prerogative to act arbitrarily and capriciously.” ATF apparently believes it is permissible

to establish by fiat a system where the industry is forced to seek permission from on high before

marketing firearms and other products, while preserving the discretion of the agency to provide

no clear answers.

       Indeed, the agency’s existing modus operandi is such that, if ATF does not like the

product, or does not like the submitter, it simply will ignore the classification request and refuse

to issue a determination letter, leaving the product hanging in legal limbo. Savage, isn’t it?

Moreover, even when ATF does issue a classification letter, turn around can be delayed well

over a year – or at times even much longer – an impossibility for many manufacturers whose

technological advances and product developments need to be brought to market quickly, and

which cannot withstand month after month of bureaucratic foot dragging, without risk of

becoming obsolete.




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   V.      ATF Is Prohibited from Creating a National Gun Registry.
        As its pièce de résistance, ATF seeks to thread the various parts of its Proposed Rule

together in order to further an apparent scheme to create a national gun registry. First, ATF

would require numerous additional non-firearm parts to be serialized and recorded, requiring

background checks and dealer paperwork, and making gun owners need to go “on the radar” any

time they purchase replacement parts or even some accessories for their firearms. Second, ATF

seeks to require privately manufactured firearms to be serialized and registered in dealers’ books.

Now, ATF seeks to require all of that data to be collected, compiled, collated, and delivered up

on a silver platter to ATF for entry into a centralized database.

        ATF “proposes to amend 27 CFR 478.129 to remove language stating that FFL dealers

and collectors need only keep A&D Records and ATF Forms 4473 for up to 20 years….” PR at

27735. Instead, ATF proposes to require FFLs “to retain all records until business or licensed

activity is discontinued….” Id. And, of course, “[w]here discontinuance of the business is

absolute, the records shall be delivered within 30 days following the business discontinuance to

the ATF Out-of-Business Records Center.” 27 CFR 478.127; 18 USC Section 923(g)(4). Finally,

as recently reported, ATF’s OOB Records Center has recently begun using high-speed scanners

to digitize and OCR all “out of business” records obtained by the agency.

        As ATF is no doubt aware, 18 USC Section 926(a)(3) makes quite clear that “[n]o[]

system of registration of firearms, firearms owners, or firearms transactions or dispositions

[shall] be established,” including by using “records required to be maintained under this

chapter….” ATF for years has flirted with the boundaries of this prohibitioni – allowed by one

statute to collect out of business records (for purposes such as tracing crime guns) but prohibited

by another statute from using these records to establish a national gun registry (by creating a

searchable digital database of gun sales). Now, ATF seeks to vacuum up even more records of


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gun sales, together with forced registrations of privately made firearms, and then require that

every record on every gun in America be stored in perpetuity and – eventually – handed over to

the agency for addition to its database. The agency’s radical anti-gun agenda could not be

clearer.

                                                CONCLUSION
           For the reasons stated above, the Proposed Rule should be withdrawn in its totality.


                                                               Respectfully submitted,
                                                               Gun Owners of America, Inc., and
                                                               Gun Owners Foundation


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 Other recent ATF actions help to confirm the agency’s conspiracy to create a prohibited gun registry. First, in
Minnesota, Michigan, and Alabama, ATF recently revoked state concealed carry permits as alternatives under 18
USC Section 922(t)(3), thereby funneling more and more gun sales through the NICS system. Second, during ATF
“compliance” inspections pursuant to 18 U.S.C. 923(g)(1)(A)-(C), many dealers have reported in recent years that
ATF inspectors have been caught taking cell phone pictures of the dealers’ bound books and Forms 4473, often en
masse – not because of any problem with the records or suspicion of wrongdoing of any kind, and in violation of the
Section 923(g)(1)(D) prohibition that “[t]he inspection and examination authorized by this paragraph shall not be
construed as authorizing the Attorney General to seize any records or other documents other than those records or
documents constituting material evidence of a violation of law.” Third, ATF has sought to make this sort of
unlawful seizure even easier for its inspectors, by amending the ATF Form 4473 to put the section with make,
model, and serial number on the very same page as the section about identity of the transferee, changing from this to
this. Fourth, ATF recently approved software that will permit a dealer to maintain his physical “bound book” of
acquisitions and dispositions in electronic form, meaning that ATF inspectors can simply copy the bound book to a
thumb drive, giving them an easily accessible record of the FFL’s entire business.




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